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             IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS

ESMERALDA GARCIA,                          )
                                           )
       Plaintiff,                          )       Case No. 20CV02026
                                           )
v.                                         )
                                           )
SAM’S WEST, INC., et al.                   )
                                           )
       Defendants.                         )

              DEFENDANTS SAM’S WEST, INC.’S AND WALMART INC.’S
                   NOTICE OF FILING NOTICE OF REMOVAL

       I hereby certify that a copy of the Notice of Removal in the above-styled action has been

filed in the United States District Court for the District of Kansas, on this 17th day of July, 2020.

       A copy of the Notice of Removal is attached hereto as Exhibit A.



                                                Respectfully Submitted,
                                                /s/ James R. Jarrow
                                                BAKER STERCHI COWDEN & RICE, L.L.C.
                                                James R. Jarrow           KS# 14287
                                                Kehl D. Friesen           KS# 28204
                                                9393 W. 110th St., Suite 500
                                                Overland Park, KS 66210
                                                (913) 451-6752
                                                Fax: (816) 472-0288
                                                E-mail: jarrow@bscr-law.com
                                                E-mail: kfriesen@bscr-law.com

                                                ATTORNEYS FOR DEFENDANTS
                                                SAM’S WEST, INC. AND WALMART INC.




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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on this 16th day of July, 2020, a true and correct copy

of the foregoing was electronically filed with the Clerk of the Court, using the Court’s electronic

filing system, which will send notification of the following to all counsel of record.




                                                   /s/ James R. Jarrow




                                                 2


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                                                                                               20CV02026
                                                                                               Div7




            IN THE DISTRICT COURT OF JOHNSTON COUNTY, KANSAS
                         CIVIL COURT DEPARTMENT

ESMERALDA GARCIA                                      )
2832 Highland Drive                                   )
Kansas City, KS 66106                                 )
                                                      )
                               Plaintiff,             )      Case No.
vs.                                                   )
                                                      )      Division
SAM’S WEST, INC.                                      )
12200 W. 95th Street                                  )      Chapter 60
Lenexa, KS 66215                                      )
WALMART INC.                                          )
708 SW 8th Street                                     )
Bentonville, AR 72716                                 )
                               Defendants,            )

                      PETITION PURSUANT TO K.S.A. CHAPTER 60

The Plaintiff, Esmerlada Garcia, alleges the following through her attorney, Brent Johnston:

       1.      Plaintiff is a resident of Wyandotte County, Kansas with a current address of 2832

Highland Drive, Kansas City, Kansas 66106.

       2.      Defendant Sam’s West, Inc., is a corporation registered to perform work in the

State of Kansas. The registered agent for Sam’s West, Inc. is The Corporation Company, Inc.

This defendant can be served at its registered office, located at 112 SW 7th Street, Suite 3C,

Topeka, Kansas 66603, or at its physical location, 12200 W. 95th Street, Lenexa, Kansas 66215.

       3.      Defendant Walmart Inc., a corporation registered to perform work in the State of

Kansas, owns Sam’s West, Inc. The registered agent for Walmart Inc. is The Corporation

Company, Inc. This defendant can be served at its registered office, located at 112 SW 7th Street,

Suite 3C, Topeka, Kansas 66603, or at its primary physical address, 708 SW 8th Street,

Bentonville, Arkansas 72716.


                                                          Clerk of the District Court, Johnson County Kansas
                                                                                       05/12/20 03:52pm MM
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        4.      On May 12, 2018, Plaintiff Esmeralda Garcia was shopping at Sam’s West, Inc,

located at 12200 W 95th Street, Lenexa, Kansas 66215. The Defendants owed a duty to Plaintiff

and all other customers in the store to provide and maintain a safe environment to shop. The

Defendants negligently performed their respective duties by failing to ensure that the floor inside

Sam’s West, Inc. was clean and dry. As a direct result of this negligence, while shopping in

Defendant’s store, Plaintiff slipped on a wet, dirty floor and fell to the ground, sustaining serious

physical injuries.

        5.      The negligence of the Defendants Sam’s West, Inc. and Walmart Inc. included

but was not limited to:

             a. Failure to provide and maintain clean, safe, and dry conditions for shopping.

             b. Failure to properly mark or designate wet, dangerous, and hazardous conditions

                that would foreseeably cause injury to others.

             c. Failure to provide adequate warning to its customers of wet and dangerous

                conditions in the store.

             d. Failure to promptly clean and dry the dirty and wet floors in the store.

        6.      As the direct and proximate result of Defendants Sam’s West, Inc.’s and Walmart

Inc.’s negligence, Plaintiff Esmeralda Garcia suffered and continues to suffer severe and

permanent injuries including but not limited to her neck, back, right hip, right leg, neck, right

shoulder, right arm, and head; past and future medical expenses; past and future loss of wages;

impairment of future earning capacity; pain, suffering, mental anguish, disability, and other

injuries and damages in excess of $75,000.00.




                                                           Clerk of the District Court, Johnson County Kansas
                                                                                        05/12/20 03:52pm MM
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       Plaintiff Esmeralda Garcia requests damages against Defendants Sam West, Inc and

Walmart Inc in a sum in excess of $75,000.00; for her costs; and for such other and further relief

as the Court deems just and proper.

                                               Respectfully submitted by:



                                               Brent Johnston, #24452
                                               Johnston L|w PC
                                               4 Westowne Street #400
                                               Liberty, MO 64068
                                               Phone: (816)883-8481
                                               Fax: (816-865-5261
                                               Email: brent@johnston.law
                                               Attorney for Plaintiff


                                 DEMAND FOR JURY TRIAL
       The Plaintiff requests a trial by jury on all issues triable by a jury in the above matter.



                                               Brent Johnaon




                                                           Clerk of the District Court, Johnson County Kansas
                                                                                        05/12/20 03:52pm MM
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               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



ESMERALDA GARCIA
                              Plaintiff                        Case No: 20CV02026
               vs                                              Division: 7
                                                               K.S.A. Chapter 60
SAM'S WEST INC
                              Defendant



                         REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for SAM'S WEST INC whose address for
service is:

       12200 W. 95TH STREET
       LENEXA, KS 66215


Service by an authorized process server.


PLEASE SERVE THE PETITION AND SUMMONS ON A MANAGER AT THE PRIMARY
ADDRESS, OR SERVE THE REGISTERED AGENT, THE CORPORATION COMPANY, AT 112
SW 7TH STREET, SUITE 3C, TOPEKA, KANSAS 666603 2ND ADDR 112 SW 7TH STREET,
SUITE 3C, TOPEKA, KS 66603



                                           By: /s/ BRENT MICHAEL JOHNSTON
                                           BRENT MICHAEL JOHNSTON, #24452
                                           4 WESTOWNE STREET #400
                                           LIBERTY, MO 64068
                                           816-883-8481




                                                        Clerk of the District Court, Johnson County Kansas
                                                                                     05/12/20 03:52pm MM
                                            EXHIBIT A
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               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



ESMERALDA GARCIA
                              Plaintiff                        Case No: 20CV02026
               vs                                              Division: 7
                                                               K.S.A. Chapter 60
SAM'S WEST INC
                              Defendant



                         REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for WALMART INC whose address for
service is:

       112 SW 7TH STREET, SUITE 3C
       TOPEKA, KS 66603


Service by an authorized process server.


PLEASE SERVE THE PETITION AND SUMMONS ON THE REGISTERED AGENT, THE
CORPORATION COMPANY, OR SERVE BE CERTIFIED MAIL AT THE CORPORATE
HEADQUARTERS 2ND ADDR 708 SW 8TH STREET, BENTONVILLE, AR 72716



                                           By: /s/ BRENT MICHAEL JOHNSTON
                                           BRENT MICHAEL JOHNSTON, #24452
                                           4 WESTOWNE STREET #400
                                           LIBERTY, MO 64068
                                           816-883-8481




                                                        Clerk of the District Court, Johnson County Kansas
                                                                                     05/12/20 03:52pm MM
                                            EXHIBIT A
